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2024 OCT 29 AM 9: 22
ME Pei Certificate Number: 13858-DE-CC-038963014

13858-DE-CC-03896

CERTIFICATE OF COUNSELING

I CERTIFY that on October 14, 2024, at 3:15 o'clock PM EDT, Briseida Arreola
Zaragoza received from MoneySharp Credit Counseling Inc., an agency approved
pursuant to 11 U.S.C. 111 to provide credit counseling in the District of

Delaware, an individual [or group] briefing that complied with the provisions of
11 U.S.C. 109(h) and 111.

A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.

This counseling session was conducted by internet.

Date: October 14, 2024 By: /s/Wendel Ruegsegger

Name: Wendel Ruegsegger

Title: Counselor

* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).

